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             IN THE UNITED STATES COURT OF APPEALS
                    FOR THE ELEVENTH CIRCUIT

STATE OF GEORGIA,

     Plaintiff/Appellee,
                                              No. 23-12958
v.

MARK RANDALL MEADOWS,

     Defendant/Appellant.



 RESPONSE OF AMICI CURIAE ERWIN CHEMERINSKY, AMY LEE
COPELAND, SARAH R. SALDAÑA, AND SHAN WU IN OPPOSITION TO
 DEFENDANT-APPELLANT MARK R. MEADOWS’S REQUEST FOR
      INJUNCTIVE RELIEF IN HIS EMERGENCY MOTION



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              CERTIFICATE OF INTERESTED PERSONS AND
                CORPORATE DISCLOSURE STATEMENT

      To the best of Amici’s knowledge, no associations of persons, partnerships,

or corporations have an interest in the outcome of this case or appeal, including

subsidiaries, conglomerates, affiliates, parent corporations, any publicly held

corporation that owns 10% or more of the party’s stock. The following is a list of

all trial judges, attorneys, law firms, and persons with such an interest:

       1.     Anulewicz, Christopher Scott, attorney for Robert David Cheeley

       2.     Arora, Manubir, attorney for Kenneth John Chesebro

       3.     Aul, Francis, attorney for Mark R. Meadows

       4.     Ayer, Donald B., amicus

       5.     Barron, Lynsey M., attorney for Scott Graham Hall

       6.     Beckermann, Wayne R., attorney for Robert David Cheeley

       7.     Bever, Thomas Dean, attorney for Shawn Micah Tresher Still

       8.     Bittman, Robert, attorney for Mark R. Meadows

       9.     Bondurant Mixson & Elmore LLP

       10.    Carr, Christopher M., Attorney General of the State of Georgia

       11.    Cheeley, Robert David, Defendant in Georgia v. Trump

       12.    Chemerinsky, Erwin, amicus
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     13.   Chesebro, Kenneth John, Defendant in Georgia v. Trump

     14.   Christenson, David Andrew, pro se, denied intervention below

     15.   Clark, Jeffrey Bossert, Defendant in Georgia v. Trump

     16.   Cohen, Darryl B., attorney for Trevian C. Kutti

     17.   Copeland, Amy Lee, amicus

     18.   Cromwell, William Grant, attorney for Cathleen Alston Latham

     19.   Cross, Anna Green, Fulton County District Attorney’s Office

     20.   Cross Kincaid LLC

     21.   Durham, James D., attorney for Mark R. Meadows in Georgia v.

           Trump

     22.   Eastman, John Charles, Defendant in Georgia v. Trump

     23.   Ellis, Jenna Lynn, Defendant in Georgia v. Trump

     24.   Englert, Joseph Matthew, attorney for Mark R. Meadows

     25.   Farmer, John J. Jr., amicus

     26.   Floyd, Harrison William Prescott, Defendant in Georgia v. Trump

     27.   Floyd, John Earl, Fulton County District Attorney’s Office

     28.   Francisco, Michael Lee, attorney for Mark R. Meadows
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     29.   Fried, Charles A., amicus

     30.   Fulton County District Attorney’s Office

     31.   Gerson, Stuart M., amicus below

     32.   Gillen, Craig A., attorney for David James Shafer

     33.   Giuliani, Rudolph William Louis, Defendant in Georgia v. Trump

     34.   Griffin Durham Tanner & Clarkson LLC

     35.   Grohovsky, Julie, amicus

     36.   Grubman, Scott R., attorney for Kenneth John Chesebro

     37.   Hall, Scott Graham, Defendant in Georgia v. Trump

     38.   Hampton, Misty (a/k/a Emily Misty Hayes), Defendant in Georgia v.

           Trump

     39.   Harding, Todd A., attorney for Harrison William Prescott Floyd

     40.   Hogue, Franklin James, attorney for Jenna Lynn Ellis

     41.   Hogue, Laura Diane, attorney for Jenna Lynn Ellis

     42.   Jones, Steve C., U.S. District Court Judge for the Northern District of

           Georgia

     43.   Kammer, Brian S., attorney for amici

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     44.   Kelley, Emily E., attorney for Mark R. Meadows

     45.   Kutti, Trevian C., Defendant in Georgia v. Trump

     46.   Lake, Anthony C., attorney for David James Shafer

     47.   Latham, Cathleen Alston, Defendant in Georgia v. Trump

     48.   Lee, Stephen Cliffgard, Defendant in Georgia v. Trump

     49.   Little, Jennifer L., attorney for Donald J. Trump

     50.   Luttig, J. Michael, amicus

     51.   MacDougald, Harry W., attorney for Jeffrey Bossert Clark

     52.   McAfee, Scott, Fulton County Superior Court Judge

     53.   McFerren, William Coleman, attorney for Shawn Micah Tresher Still

     54.   McGuireWoods, LLP

     55.   Meyer, Joseph Michael, attorney for amici

     56.   Moran, John S., attorney for Mark R. Meadows

     57.   Morgan, John Thomas III, attorney for amici

     58.   Morris, Bruce H., attorney for Ray Stallings Smith, III

     59.   Ney, Adam, Fulton County District Attorney’s Office

     60.   Novay, Kristen Wright, attorney for Ray Stallings Smith, III
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     61.   Palmer, Amanda, attorney for Ray Stallings Smith, III

     62.   Parker, Wilmer, attorney for John Charles Eastman

     63.   Pierson, Holly Anne, attorney for David James Shafer

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     65.   Rafferty, Brian T., attorney for Sidney Katherine Powell

     66.   Ragas, Arnold M., attorney for Harrison William Prescott Floyd

     67.   Ratakonda, Maithreyi, attorney for amici

     68.   Raul, Alan Charles, amicus

     69.   Rice, Richard A., Jr., attorney for Robert David Cheeley

     70.   Roman, Michael A., Defendant in Georgia v. Trump

     71.   Rood, Grant H., Fulton County District Attorney’s Office

     72.   Sadow, Steven H., attorney for Donald J. Trump

     73.   Saldaña, Sarah R., amicus

     74.   Samuel, Donald Franklin, attorney for Ray Stallings Smith, III

     75.   Shafer, David James, Defendant in Georgia v. Trump

     76.   Smith, Ray Stallings, III, Defendant in Georgia v. Trump

     77.   States United Democracy Center
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     78.   Still, Shawn Micah Tresher, Defendant in Georgia v. Trump

     79.   Terwilliger, George J., III, attorney for Mark R. Meadows

     80.   Trump, Donald J., Defendant in Georgia v. Trump

     81.   Twardy, Stanley A. Jr., amicus

     82.   Volchok, Daniel, attorney for amici

     83.   Wade, Nathan J., Fulton County District Attorney’s Office

     84.   Wade & Campbell Firm

     85.   Wakeford, Francis McDonald IV, Fulton County District Attorney’s

           Office

     86.   Waxman, Seth P., attorney for amici

     87.   Weld, William F., amicus

     88.   Wertheimer, Fred, attorney for amici

     89.   Williams, Jonathan, attorney for amici

     90.   Willis, Fani T., Fulton County District Attorney’s Office

     91.   Wilmer Cutler Pickering Hale and Dorr LLP

     92.   Wooten, John William, Fulton County District Attorney’s Office



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     93.   Wu, Shan, amicus

     94.   Young, Daysha D’Anya, Fulton County District Attorney’s Office




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              INTERESTS AND IDENTITY OF AMICI CURIAE

      Amici Erwin Chemerinsky, Amy Lee Copeland, Sarah R. Saldaña, and Shan

Wu are former prosecutors and a federal courts scholar.1 They have decades of

experience with the issues raised in Mark Meadows’s emergency motion, including

those regarding removal and collateral consequences in the federal and state court

contexts. Amici seek leave to file this response because, given their decades of

public service, their personal familiarity with the law enforcement and

constitutional issues relevant here, and their commitment to the integrity of our

democratic system, they maintain an active interest in the proper resolution of the

questions raised by the emergency motion.

                                   ARGUMENT

      As an alternative to staying the district court’s remand order and expediting

consideration of this appeal, Defendant-Appellant Mark R. Meadows argues that

the Court should enjoin District Attorney Fani Willis from continuing to prosecute

him in state court during this appeal. The text of 28 U.S.C. § 1455, the Anti-

Injunction Act, and the Younger doctrine each forbid this relief, and the Court




      1
        No counsel for a party authored this filing in whole or in part, and no party
or counsel for a party made a monetary contribution intended to fund the
preparation or submission of this filing. No person other than amici or their
counsel made a monetary contribution to the preparation or submission of this
filing.
                                           2
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should deny it.2

   A.       The plain text of the removal statutes forbids enjoining the state
            court proceedings.

        Meadows’s argument ignores the plain text of 28 U.S.C. § 1455, through

which Congress has directly addressed when removal requires a state court to

“proceed no further.” 28 U.S.C. § 1455(b)(5). Unlike in removed civil cases,

Congress has determined that the removal of a criminal case “shall not prevent the

State Court . . . from proceeding further.” Id. § 1455(b)(3). Instead, state criminal

prosecutions can proceed up to the point that the district court both “determines

that removal shall be permitted,” and provides notice to the state court. Id.

§ 1455(b)(5). Only then does § 1455 direct the state court to “proceed no further.”

Id. Additionally, and of particular relevance to Meadows’s motion, § 1455

contemplates the possibility that a removing defendant could lose his right to

removal if the state proceedings outpace federal consideration of removal.

Congress’s solution to this problem was to direct state courts that “a judgment of

conviction shall not be entered unless the prosecution is first remanded.” Id. §

1455(b)(3) (emphasis added).

        Where, as here, “the language of a statute is clear and unambiguous,” the

only proper course is to “employ that plain meaning.” United States v. Dawson, 64


        2
        Amici take no position in this filing on staying the district court’s remand
order and expediting the appeal, or the propriety of removal.
                                           3
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F.4th 1227, 1236 (11th Cir. 2023). The Court cannot “second guess Congress’s

decision.” Garcia v. Vanguard Car Rental USA, Inc., 540 F.3d 1242, 1252 (11th

Cir. 2008). Because Congress has already decided when state court proceedings

should stop (after a finding that removal is appropriate and notification to the state

court) and has decided how to handle the risk that a removal decision could take

longer than a state criminal proceeding (by forbidding the state court from entering

judgment of conviction), Meadows’s request to enjoin state court proceedings

during the appeal must fail.

   B.      Principles of federalism, Younger, and the Anti-Injunction Act lead
           to the same conclusion.

        Although the plain meaning is enough, the “strong judicial policy against

federal interference with state criminal proceedings” confirms this reading. Mesa v.

California, 489 U.S. 121, 138 (1989). This policy flows from the bedrock

principles underlying “Our Federalism”—a “recognition of the fact that the entire

country is made up of a Union of separate state governments, and a continuance of

the belief that the National Government will fare best if the States and their

institutions are left free to perform their separate functions in their separate ways.”

Younger v. Harris, 401 U.S. 37, 44 (1971). In this system, “the National

Government, anxious though it may be to vindicate and protect federal rights and

federal interests, always endeavors to do so in ways that will not interfere with the

legitimate activities of the States.” Id.
                                            4
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      The Younger doctrine and the Anti-Injunction Act provide additional reasons

not to issue an injunction. Under Younger, federal courts do not “enjoin pending

state criminal proceedings” except in “extraordinary circumstances.” Hughes v.

Att’y Gen. of Fla., 377 F.3d 1258, 1262 (11th Cir. 2004). Meadows points (at 18-

19, 22) to the burdens of prosecution, but that kind of harm is not enough to justify

intervention under Younger. See 401 U.S. at 46 (explaining that the threat to

“federally protected rights must be one that cannot be eliminated by his defense

against a single criminal prosecution”). This conclusion is all the more appropriate

here, where Congress specifically directed when state courts must halt proceedings

in removed prosecutions.

      Even if Younger did not apply, Meadows’s arguments could not overcome

the Anti-Injunction Act. Under that law, a federal court generally must not “grant

an injunction to stay proceedings in a State court except as expressly authorized by

Act of Congress.” 22 U.S.C. § 2283. Meadows contends (at 21) that the law does

not apply, because he seeks only an injunction against the District Attorney as a

party to this case, but the Supreme Court rejected that work-around half a century

ago. See Upper Chattahoochee Riverkeeper Fund, Inc. v. City of Atlanta, 701 F.3d

669, 675 n.4 (11th Cir. 2012) (citing Atl. Coast Line R.R. Co. v. Bhd. of

Locomotive Eng’rs, 389 U.S. 281, 287 (1970)). This Court “treat[s] injunctions

entered for the purpose of halting a state court proceeding the same regardless of

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whether issued against the parties to the state proceeding or directly against the

state court.” Id. (quoting Burr & Forman v. Blair, 470 F.3d 1019, 1028 n.28 (11th

Cir. 2006)). As for Meadows’s argument that § 1455(b)(5)’s language directing

that a state court “proceed no further” expressly authorizes an injunction, see Mot.

21-22, he ignores the conditions precedent: the district court must first

“determine[] that removal shall be permitted” and “notify the State court in which

prosecution is pending.” Neither event has occurred.3

      That Meadows relies on the Supremacy Clause does not call for a different

outcome. The issue here is not whether the Supremacy Clause protects Meadows

from the burdens of litigation, but rather whether this Court has the authority to

stay the state-court criminal proceeding before § 1455(b)(5) is satisfied. Meadows

is free to argue that he should be spared the burdens of litigation under the

Supremacy Clause, but until § 1445(b)(5) deprives the state court of jurisdiction,

Meadows must turn to the state court for relief. As Younger recognizes, state courts




      3
        None of the out-of-circuit cases Meadows cites on pages 22-23 involving
stays of “other litigation inconsistent with the defendant’s right to removal” applies
here. See Davis Int’l, LLC v. New Start Grp. Corp., 367 F. App’x 334, 337 (3d Cir.
2010) (authorizing stay of re-filed civil case that was a “fraudulent attempt to
subvert the removal statute”); Quackenbush v. Allstate Ins. Co., 121 F.3d 1372,
1378 (9th Cir. 1997) (authorizing stay of civil case filed later “for the purpose of
subverting federal removal jurisdiction,” but holding that the rule did not apply);
Kaepa, Inc. v. Achilles Corp., 76 F.3d 624, 626-628 (5th Cir. 1996) (allowing
injunction against later-filed, identical Japanese lawsuit).
                                            6
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are “fully competent” to adjudicate federal defenses. Doran v. Salem Inn, Inc., 422

U.S. 922, 930 (1975).

      Finally, the history of the officer removal statute confirms that there is

nothing anomalous about requiring a federal officer to present his defenses until

the terms of the removal statutes are satisfied. For most of our Nation’s history,

Congress has been content to leave federal officers to assert their defenses to state

prosecutions in state court. Willingham v. Morgan, 395 U.S. 402, 405-06 (1969). It

was only after the Civil War that Congress enacted a permanent statute allowing

federal officers to remove charges against them. Id. And until 1948, the right to

remove state prosecutions was generally limited to federal officers enforcing the

revenue laws or customs regulations. See id. Indeed, Congress chose to limit the

removal right despite longstanding recognition that state prosecutions of federal

officers could interfere with the “operations of the general government.” See

Tennessee v. Davis, 100 U.S. 257, 263-64 (1879). Even to this day, Congress has

chosen to allow state prosecutions to proceed without federal interference until a

district court determines that removal is appropriate.

      The removal statutes should be enforced as written. Absent a determination

that removal is permitted and notice to the state court, the state court must be free

to proceed in Meadows’s case.




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                                  CONCLUSION

      For these reasons, the Court should not enjoin Meadows’s state-court

prosecution while it considers this appeal.

                                       Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE

      I certify that this filing complies with the applicable type-volume limitation

under Federal Rule of Appellate Procedure 27(d)(2). According to the word-

processing software’s word count, there are 1472 words in the applicable sections

of this filing. I also certify that this filing complies with the applicable type-style

requirements under Federal Rules of Appellate Procedure 27(d)(1)(E) and 32(a)(5)

and (6). The motion was prepared in 14-point, Times New Roman font.


                                                /s/ Jonathan Williams
                                                Jonathan L. Williams




                                            9
